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                           UNITED STATES BANKRUPTCY COURT
                                   DISTRICT OF MAINE


In re:

IRVING TANNING COMPANY,
PRIME TANNING CO., INC.,
PRIME TANNING CORP.,                             Chapter 11
CUDAHY TANNING COMPANY,
INC.,                                            Case No. 10-11757-LHK
WISMO CHEMICAL CORP.,
PRIME TANNING COMPANY, INC.,                     (Jointly Administered)

                           Debtors.




DEVELOPMENT SPECIALISTS, INC.,
AS TRUSTEE OF THE IRVING/PRIME
CREDITORS’ TRUST FORMED
PURSUANT TO THAT CERTAIN
LIQUIDATING TRUST AGREEMENT
EFFECTIVE AS OF NOVEMBER 1, 2012
AND FORMED PURSUANT TO THE                       Adv. Pro. No. 12-
DEBTORS’ FIRST AMENDED PLAN OF
REORGANIZATION DATED
SEPTEMBER 25, 2012, AS SUCH PLAN
WAS CONFIRMED PURSUANT TO THE
ORDER (I) CONFIRMING DEBTORS’
FIRST AMENDED PLAN OF
REORGANIZATION DATED
SEPTEMBER 25, 2012 AND (II)
AUTHORIZING AND DIRECTING
CERTAIN ACTIONS IN CONNECTION
THEREWITH, DATED OCTOBER 18,
2012,

              Plaintiff,
v.

MICHAEL W. KAPLAN,
M. STEPHEN KAPLAN,
MARJORY A. KAPLAN,
GLENYCE S. KAPLAN LIFETIME
TRUST-1994,


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PRIME TANNING CO.,
INC. VOTING TRUST-1994, the
ESTATE OF LEONARD D. KAPLAN,
STEVEN A. GOLDBERG,
GLENYCE S. KAPLAN,
ELISEO POMBO, and
ROBERT B. MOORE,

              Defendants.


                                        COMPLAINT

       Plaintiff, Development Specialists, Inc. (“Plaintiff” or the “Trustee”), solely in the

capacity as Liquidating Trustee, appointed pursuant to the terms of the of the Debtors’ First

Amended Plan of Reorganization Dated September 25, 2012 [Docket No. 627] (the “Plan”) in

the jointly administered chapter 11 case of Irving Tanning Company (“Irving”), Prime Tanning

Co., Inc. (“Prime Maine”), Prime Tanning Corp. (“Prime Missouri”), Cudahy Tanning Company,

Inc. (“Cudahy”), Wismo Chemical Corp. (“Wismo”), and Prime Tanning Company, Inc. (“Prime

Delaware”) (collectively, the “Debtors”), which Plan was confirmed by the Order (I) Confirming

Debtors’ First Amended Plan of Reorganization Dated September 25, 2012 and (II) Authorizing

and Directing Certain Actions in Connection Therewith [Docket No. 643] (the “Confirmation

Order”), acting on behalf of the Irving/Prime Creditors’ Trust (the “Trust”) formed pursuant to

the Plan, and evidenced by a certain Liquidating Trust Agreement effective as of November 1,

2012 (the “Trust Agreement”), files this complaint (the “Complaint”), by and through its

undersigned counsel, against Michael W. Kaplan (“Michael Kaplan”), M. Stephen Kaplan

(“Stephen Kaplan”), Marjory A. Kaplan (“Marjory Kaplan”), the Glenyce S. Kaplan Lifetime

Trust-1994 (the “Lifetime Trust”), the Prime Tanning Co., Inc. Voting Trust-1994 (the “Voting

Trust”), and the Estate of Leonard D. Kaplan (the “Leonard Kaplan Estate”), in their capacity as

the former shareholders of Prime Maine (collectively, the “Shareholder Defendants,” and each a


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“Shareholder Defendant”). The Trustee also files this Complaint against Steven A. Goldberg

(“Steven Goldberg”), Glenyce S. Kaplan (“Glenyce Kaplan”), Eliseo Pombo (“Eliseo Pombo”),

Robert B. Moore (“Robert Moore”), Michael Kaplan, and Stephen Kaplan, in their capacity as

the former directors of Prime Maine (each, a “Director Defendant,” and collectively, the

“Director Defendants;” the Shareholder Defendants and the Director Defendants are collectively

referred to as the “Defendants”). In support of this Complaint, the Trustee alleges:

                                       INTRODUCTION

       1.      Prior to the transactions discussed in detail in this Complaint, Irving, Prime

Maine, Prime Missouri, and Cudahy were engaged in various aspects of the leather tanning

process and/or the manufacture and sale of leather. Irving was a worldwide leader in the

manufacture and sale of leather primarily to manufacturers of footwear and consumer goods

located in North America, Asia, and Europe. Both Cudahy and Prime Maine were involved in

the leather tanning process and were competitors of Irving whose operations were later

consolidated with those of Irving. Prime Missouri operated an extensive “wet blue” operation,

supplying Prime Maine with processed hides.

       2.      In or around November 2007, the Shareholder Defendants, who collectively

owned the entirety of Prime Maine’s shares and who at all relevant times were insiders of Prime

Maine, negotiated a transaction through which the Shareholder Defendants received substantial

consideration—over $14 million—in exchange for the sale of the Prime Maine shares. To fund

the buyout of the Shareholder Defendants, the Debtors were required to incur substantial secured

debt and take on significant obligations with virtually no direct or indirect benefit to the Debtors

or their operations; in fact, the buyout transactions left the Debtors insolvent and/or woefully

undercapitalized. The Shareholder Defendants knew or should have known that the buyout of



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their shares would cripple the Debtors such that they would be rendered insolvent and/or would

have unreasonably small capital with which to carry on their respective businesses. The buyout

of the Shareholder Defendants was expressly authorized by the vote of the Director Defendants,

who in authorizing the buyout of the Shareholder Defendants breached their fiduciary duties of

care and loyalty to Prime Maine and its creditors. At least some of the Director Defendants,

including, without limitation, Glenyce Kaplan, Michael Kaplan, and Stephen Kaplan, were

insiders of Prime Maine.

       3.       The Debtors never recovered from the significant secured and other obligations

they incurred in the process of buying out the Shareholder Defendants, despite the best efforts of

the Debtors’ management to stem losses, streamline operations, and regain profitability. Indeed,

virtually all of the events and transactions taking place after the buyout of the Shareholder

Defendants in late 2007 were in whole or in part attempts by the Debtors’ management to

recover from the catastrophic results of the buyout, which attempts ultimately proved

unsuccessful.

       4.       Eventually, the Debtors had no choice but to seek chapter 11 relief in November

2010 to attempt to maximize the value of their assets for the benefit of their creditors.

       5.       This Complaint alleges, inter alia, state law claims that belonged to the Debtors,

and now belong to the Trust, for breach of fiduciary duty and fraudulent transfers.          This

Complaint also asserts federal law claims, to which the Trust succeeds, to recover fraudulent

transfers under section 544(b) and applicable state law. In addition, the Complaint asserts state

law fraudulent transfer claims owned by creditors of Prime Maine, in such capacity, and which

were assigned to the Trust under the Plan and the Confirmation Order.




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                                JURISDICTION AND VENUE

         6.    This Court has jurisdiction over this adversary proceeding pursuant to 28 U.S.C. §

1334(b) and Article IX of the Plan.

         7.    This adversary proceeding has been referred to this Court pursuant to 28 U.S.C. §

157(a) and D. Me. L.R. 83.6.

         8.    This adversary proceeding is a core proceeding pursuant to 28 U.S.C. § 157(b).

         9.    Venue of this adversary proceeding is proper in this district pursuant to 28 U.S.C.

§ 1409(a).

                                           PARTIES

         A.    Plaintiff

         10.   Irving is a Maine corporation with its principal place of business in Hartland,

Maine.

         11.   Prime Maine is a Maine corporation with its principal place of business located in

Berwick, Maine.

         12.   Cudahy is a Wisconsin corporation that, upon information and belief, at all times

during its operations, maintained a principal place of business in Cudahy, Wisconsin.

         13.   Prime Delaware is a Delaware corporation and holding company.               Prime

Delaware is the parent corporation of Irving, Prime Maine, and Cudahy.

         14.   Prime Missouri is a Missouri corporation that, upon information and belief, at all

times during its operations, maintained a principal place of business in St. Joseph, Missouri.

Prime Missouri is a wholly-owned subsidiary of Prime Maine.

         15.   Wismo is a Missouri corporation that, upon information and belief, at all times

during its operations, maintained its corporate headquarters in Milwaukee, Wisconsin and a



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principal place of business in St. Joseph, Missouri. Wismo is a wholly-owned subsidiary of

Prime Missouri.

       16.     The Debtors are affiliates as such term is defined in 11 U.S.C. § 101(2).

       17.     On November 16, 2010 (the “November 16, 2010 Petition Date”), Irving, Prime

Maine, and Prime Missouri commenced voluntary cases under chapter 11 of the Bankruptcy

Code in this Court.     On December 30, 2010, Prime Delaware, Cudahy, and Wismo also

commenced voluntary cases under chapter 11 of the Bankruptcy Code in this Court. Pursuant to

orders entered by this Court on January 7, 2011, the bankruptcy cases of the Debtors were jointly

administered under Case No. 10-11757-LHK.

       18.     On December 13, 2010, the official committee of unsecured creditors was

appointed.

       19.     The Debtors filed the Plan on October 17, 2012. Pursuant to the Confirmation

Order, the Plan was confirmed.

       20.     As set forth in the Confirmation Order,

       Effective upon the entry of this Order, the Trust shall be formed pursuant to the
       Trust Agreement. On or before the Effective Date, the Debtors shall transfer
       and/or assign to the Trust the following: (a) the Post-Confirmation Causes of
       Action and any causes of action assigned pursuant to the Amended Plan to the
       Consolidated Estates and/or the Trust by Holders of Claims (including causes of
       action held by such Holders of Claims to avoid any transfers in connection with or
       related to the LBO); and (b) the Residual Assets (items (a) and (b) hereinafter
       referred to collectively as the “Liquidating Trust Assets”). The Trust shall be
       established and otherwise administered in accordance with the Trust Agreement.

Confirmation Order, ¶ 10; see also Plan, § 5.15.

       21.     Under the Plan and Confirmation Order, the Trustee of the Trust

       shall . . . be vested with, without limitation, any and all of the rights, remedies,
       powers, authorities, standing and duties of the Debtors, a creditors’ committee
       granted pursuant to section 1103 of the Code and any Final Orders issued with
       respect thereto in the Case, a trustee appointed under the Code, and a

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           representative of the Debtors’ Estates pursuant to Section 1123(b)(3)(B) of the
           Bankruptcy Code (and such Estates shall remain open to the extent necessary to
           preserve any Post-Confirmation Causes of Action or any Residual Assets), for the
           purposes set forth herein, including without limitation, investigating, pursuing,
           prosecuting, settling, collecting, liquidating and/or recovering any assets, claims,
           or causes of action that constitute Residual Assets or Post-Confirmation Causes of
           Action for distribution pursuant to the provisions of the Amended Plan.

            Confirmation Order, ¶ 11; see also Plan, § 5.16.

           22.      Specifically, “[f]rom and after the Confirmation Date, the Trustee [of the Trust]

shall assume the Debtors’ and the Estate’s right to conduct any litigation with respect to Post-

Confirmation Causes of Action,” including this action (the “LBO Causes of Action”). Plan, §

5.16; Confirmation Order, p. 10-11.

           23.      Implementing identical provisions of the Plan, the Confirmation Order further

provides that, “[t]o the extent required for the Trustee to obtain standing to bring any actions

under section 544 of the Bankruptcy Code, or at state law, to avoid the LBO Transactions,1

Holders of Claims shall be deemed to assign, and pursuant to the Amended Plan and this Order

do assign, any causes of action to avoid the LBO Transactions to the Trust.” Confirmation

Order, ¶ 11; Plan, § 5.16.

           24.      Effective November 1, 2012, Development Specialists, Inc. was appointed the

Trustee of the Trust pursuant to the terms of the Plan, and executed the Trust Agreement, which

Plan and Trust Agreement, as explained above, authorize the Trustee to bring this action against

the Defendants on behalf of the Debtors and their estates and as an assignee of any and all LBO

Causes of Action held by creditors of the Debtors at state law. On November 13, 2012, inter

alia, all of the LBO Causes of Action, as well as all causes of action assigned to the Debtors’

estates and/or the Trust by the Holders of Claims pursuant to the Plan and the Confirmation



1
    Capitalized terms not otherwise defined herein have the meaning ascribed to them in the Plan.

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Order, were assigned to the Trust, to the extent not already assigned by the Plan and the

Confirmation Order.

       B.     Defendants

       25.    Upon information and belief, defendant Michael Kaplan is an individual residing

in Portsmouth, New Hampshire. At certain times relevant to the claims set forth herein, Michael

Kaplan was a shareholder of common shares of Prime Maine and a co-chairman of the board of

directors of Prime Maine and Prime Missouri.

       26.    Upon information and belief, defendant Stephen Kaplan is an individual residing

in Eliot, Maine. At certain times relevant to the claims set forth herein, Stephen Kaplan was a

shareholder of common shares of Prime Maine and a co-chairman of the board of directors of

Prime Maine and Prime Missouri.

       27.    Upon information and belief, defendant Marjory Kaplan is an individual residing

in Wayland, Massachusetts. At certain times relevant to the claims set forth herein, Marjory

Kaplan was a shareholder of common shares of Prime Maine.

       28.    Upon information and belief, defendant Lifetime Trust is a Maine trust with

Glenyce Kaplan, Paul Schneider, and Norman C. Spector (“Norman Spector”) as trustees. At

certain times relevant to the claims set forth herein, the Lifetime Trust was a shareholder of

common shares of Prime Maine.

       29.    Upon information and belief, defendant Voting Trust is a Maine trust with

Michael Kaplan, Stephen Kaplan, Paul Schneider, and Norman Spector as trustees. At certain

times relevant to the claims set forth herein, the Voting Trust was a shareholder of common

shares of Prime Maine.




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          30.   Upon information and belief, defendant Leonard Kaplan Estate relates to the

estate of Leonard D. Kaplan (“Leonard Kaplan”), a former resident of Portsmouth, New

Hampshire who passed away in 2006. At certain times relevant to the claims set forth herein,

Leonard Kaplan or the Leonard Kaplan Estate was a shareholder of common shares of Prime

Maine. Upon information and belief, at certain times relevant to the claims set forth herein,

Glenyce Kaplan, Norman Spector, and Paul Schneider were executors of the Leonard Kaplan

Estate.

          31.   Upon information and belief, defendant Steven Goldberg is an individual residing

in Portsmouth, New Hampshire. At certain times relevant to the claims set forth herein, Steven

Goldberg was the Executive Vice President and a member of the board of directors of Prime

Maine and Prime Missouri.

          32.   Upon information and belief, defendant Eliseo Pombo is an individual residing in

Portsmouth, New Hampshire. At certain times relevant to the claims set forth herein, Eliseo

Pombo was a member of the board of directors of Prime Maine.

          33.   Upon information and belief, Glenyce Kaplan is an individual residing in Palm

Beach, Florida. At certain times relevant to the claims set forth herein, Glenyce Kaplan was a

member of the board of directors of Prime Maine.

          34.   Upon information and belief, Robert Moore is an individual residing in Concord,

Massachusetts. At certain times relevant to the claims set forth herein, Robert Moore was the

President and a member of the board of directors of Prime Maine and Prime Missouri.




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               ALLEGATIONS COMMON TO ALL CLAIMS FOR RELIEF

        A.      The Terms of the 2007 Stock Acquisitions

        35.     In or around September 2005, Irving emerged from a prior chapter 11 bankruptcy

case under a confirmed plan whereby Irving Acquisition, Inc. (“Acquisition”), a Delaware

corporation and the parent company of Prime Delaware, acquired 100% of the stock of Irving.

        36.     In August 2007, Acquisition structured a series of transactions whereby Irving,

Prime Maine and Cudahy came under ownership by Prime Delaware. The organizational chart

attached hereto as Exhibit A contains a graphic depiction of the corporate ownership structure as

a result of these transactions.

        37.     Specifically, Acquisition, Irving, and Prime Delaware entered into a Contribution

Agreement (the “Irving Contribution Agreement”) dated August 15, 2007 pursuant to which

Acquisition transferred all of the shares of Irving to Prime Delaware, in consideration for which,

among other things, Prime Delaware issued 60% of its shares and a $3 million note to

Acquisition (the “Acquisition Note”), the principal amount of which note was subsequently

increased to $4 million. See Irving Contribution Agreement at § 1.2(b), (d).

        38.     Additionally, Acquisition, Prime Maine, each of the Shareholder Defendants (who

collectively owned all of the shares of Prime Maine), and Prime Delaware entered into a

Contribution Agreement (the “Prime Maine Contribution Agreement”) dated August 15, 2007.

A true and correct copy of the Prime Maine Contribution Agreement is attached hereto as

Exhibit B.

        39.     A chart listing the number of Prime Maine shares owned by each Shareholder

Defendant as of the date of the Prime Maine Contribution Agreement is attached hereto as

Exhibit C.



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         40.      As indicated on the Prime Tanning Co., Inc. Secretary’s Certificate (the “Prime

Maine Certificate”) attached hereto as Exhibit D, the Director Defendants authorized Michael

Kaplan and Stephen Kaplan to enter into the Prime Maine Contribution Agreement “on behalf

of” Prime Maine.

         41.      Pursuant to the Prime Maine Contribution Agreement, the Shareholder

Defendants transferred all of the shares of Prime Maine to Prime Delaware, in return for which

the Debtors transferred substantial consideration to the Shareholder Defendants, as detailed

below.

         42.      Pursuant to section 10.13 of the Prime Maine Contribution Agreement, Norman

Spector was appointed as the attorney-in-fact of each Shareholder Defendant, or Contributors’

Agent (the “Contributors’ Agent”), with “full power and authority” to take certain actions with

respect to the Shareholder Defendants in relation to the Prime Maine Contribution Agreement.

Prime Maine Contribution Agreement, § 10.13.

         43.      In consideration for the transfer of Prime Maine shares to Prime Delaware, the

Prime Maine Contribution Agreement provided that Prime Delaware would deliver the following

to the Shareholder Defendants and/or the Contributors’ Agent on behalf of the Defendants:

      i.       Cash payments in the aggregate amount of $11,000,000 (the “Cash
               Consideration”);

     ii.       Promissory note in the original principal amount of $3,000,000 (the
               “Shareholder Note”);

    iii.       40% of the shares of Prime Delaware (the “Prime Delaware Shares”) (with the
               other 60% of Prime Delaware’s shares being owned by Acquisition); and

    iv.        Certain earn-out rights totaling up to $3 million in cash (the “Earn-Out
               Rights”).

Prime Maine Contribution Agreement, § 1.1(a)-(d).



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        44.      Additionally, the Prime Maine Contribution Agreement provided (the “Non-

Competition Agreements Provision”) that Michael Kaplan and Stephen Kaplan would each

receive $2 million from Prime Delaware (the “Alleged Non-Competition Payments”) on the date

of execution of the non-competition agreements (the “Non-Competition Agreements” and each, a

“Non-Competition Agreement”) as consideration for entering into non-competition agreements.

Id. at § 5.11.

        45.      Prime Maine did not benefit from the Non-Competition Agreements, and Michael

Kaplan and Stephen Kaplan could not meaningfully compete with the Debtors; the Alleged Non-

Competition Payments were merely a mechanism to provide additional payments to Michael

Kaplan and Stephen Kaplan in consideration for the transfer of the Prime Maine stock.

        46.      The Prime Maine Contribution Agreement also provided (the “Employment

Agreements Provision”) that Prime Delaware would enter into employment agreements (the

“Employment Agreements”) with Michael Kaplan and Stephen Kaplan, pursuant to which

agreements each individual would be employed for a three-year term and provided with a salary

of $300,000 per annum. Id. at § 6.2(b)(iv).

        47.      Finally, the Prime Maine Contribution Agreement required Prime Maine (the

“Life Insurance Provision”) to transfer all right, title and interest of Prime Maine in and to

certain life insurance policies maintained with respect to Stephen Kaplan, Michael Kaplan,

Marjory Kaplan, and Leonard Kaplan (the “Life Insurance Policies”). Id. at § 5.6.

        B.       The Debtors Become Highly Leveraged to Fund the Consideration Owed by
                 Prime Delaware to the Shareholder Defendants

        48.      In order to fund the substantial Cash Consideration, as well as the other

consideration owed to the Shareholder Defendants by Prime Delaware under the Prime Maine




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Contribution Agreement, Irving, Prime Delaware, Cudahy, Prime Maine, and Prime Missouri

entered into certain financing transactions with Wells Fargo Bank, N.A. (“Wells Fargo”).

       49.     In connection with such financing, Irving, Prime Delaware, Cudahy, Prime Maine

and Prime Missouri executed and delivered to Wells Fargo the following:

          i.   Term Note in the original principal amount of $1,860,000 dated November
               20, 2007 executed and delivered by Irving, Prime Delaware, Prime Maine,
               Cudahy, and Prime Missouri;

         ii.   Revolving Note in the original principal amount of $40,000,000 dated
               November 20, 2007 executed and delivered by Irving, Prime Delaware,
               Prime Maine, Cudahy, and Prime Missouri; and

        iii.   Revolving Note in the original principal amount of $25,000,000 dated
               November 20, 2007 executed and delivered by Irving, Prime Delaware,
               Prime Maine, Cudahy, and Prime Missouri

(collectively, the “Wells Fargo Loans”). True and correct copies of the documents evidencing

the Wells Fargo Loans are attached hereto as Exhibit E.

       50.     As indicated on the Prime Maine Certificate, the Director Defendants authorized

and directed the Debtors to incur the Wells Fargo Loans.

       51.     Immediately after voting to authorize the Wells Fargo Loans and the execution of

the Prime Maine Contribution Agreement, among other things, Eliseo Pombo, Glenyce Kaplan,

and Steven Goldberg resigned from the board of directors of Prime Maine and/or Prime

Missouri, as evidenced by the executed resignations attached hereto as Exhibit F.

       52.     Prime Maine’s obligations under the Wells Fargo Loans were secured by a

mortgage on the real property owned by Prime Maine, as set forth in that certain Mortgage,

Security Agreement, Fixture Filing and Collateral Assignment of Leases and Rents dated

November 20, 2007, a true and correct copy of which is attached hereto as Exhibit G.




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        53.     Prime Missouri’s obligations under the Wells Fargo Loans were also secured by a

deed of trust in relation to the real property owned by Prime Missouri, as set forth in that certain

Deed of Trust, Security Agreement and Fixture Filing with Collateral Assignment of Leases and

Rents dated November 20, 2007, a true and correct copy of which is attached hereto as Exhibit

H.

        54.     The obligations of Irving, Prime Maine, Prime Missouri, Prime Delaware, and

Cudahy under the Wells Fargo Loans were also secured by a blanket security interest in all

personal property owned by Irving, Prime Maine, Prime Missouri, Prime Delaware, and Cudahy.

A true and correct copy of the security agreement and financing statements evidencing such

security interest are attached hereto as Exhibit I.

        55.     The Debtors were highly leveraged as a result of entering into the Wells Fargo

Loans. At the relevant times, the Debtors were insolvent in that the sum of their debts exceeded

the sum of their assets, at a fair valuation, and/or the Debtors were equitably insolvent.

        56.     The Debtors’ borrowing from Wells Fargo, as well as the Debtors’ pledge of

assets to secure such borrowing, and the related transfer of substantial consideration to the

Shareholder Defendants to fund the stock acquisition from the Shareholder Defendants, and to

fund the Alleged Non-Competition Payments, is hereinafter referred to as the “LBO

Transaction.”

        57.     The Defendants knew or could have foreseen that the LBO Transaction would

impose substantial cash flow issues and liabilities on the Debtors such that the Debtors would

eventually be unable to meet their obligations to other creditors.




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       C.      The Director Defendants’ Failure to Exercise Their Duty of Care and Duty of
               Loyalty to Prime Maine

       58.     At times relevant to the claims asserted herein, the Director Defendants were

directors and/or officers of Prime Maine. Three of the Director Defendants—Glenyce Kaplan,

Michael Kaplan, and Stephen Kaplan—were also insiders and shareholders of Prime Maine.

       59.     As indicated by the Prime Maine Certificate, the Director Defendants voted to

authorize Michael Kaplan and Stephen Kaplan to consummate the LBO Transaction, to their

own benefit and to the detriment of Prime Maine and its creditors.

       60.     As indicated in the Prime Maine Certificate, the Director Defendants reviewed

and discussed the terms of the Prime Maine Contribution Agreement prior to voting to authorize

entry into the Prime Maine Contribution Agreement.

       61.     As indicated in the Prime Maine Certificate, the Director Defendants reviewed

and discussed the terms of the Wells Fargo Loans prior to voting to authorize entry into the

Wells Fargo Loans.

       62.     The Director Defendants, as members of the board of directors of Prime Maine,

owed certain fiduciary duties to Prime Maine, including, but not limited to, a duty of care and a

duty of loyalty.

       63.     The Director Defendants knew or should have known that entry into the Prime

Maine Contribution Agreement would harm Prime Maine because, among other things, the

Prime Maine Contribution Agreement required Prime Maine, as well as the other Debtors, to

undertake substantial secured borrowings and other financial obligations in exchange for the

receipt of consideration of no value—namely, the transfer of the Shareholder Defendants’

shares—by the Debtors.




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       64.     The Director Defendants knew or should have known that entry into the Wells

Fargo Loans would harm Prime Maine because, among other things, the Wells Fargo Loans

resulted in Prime Maine, as well as the other Debtors, becoming highly leveraged, insolvent, and

woefully undercapitalized in exchange for the receipt of consideration of no value—namely, the

transfer of the Shareholder Defendants’ shares—by the Debtors.

       65.     Upon information and belief, the Director Defendants either failed to take any

steps whatsoever to evaluate or consider the propriety of the LBO Transaction, or knew that the

LBO Transaction was improper, but nevertheless permitted Prime Maine to enter into the LBO

Transaction to Prime Maine’s detriment and the Shareholder Defendants’ benefit.

       66.     Upon information and belief, the Director Defendants either failed to adequately

investigate, or failed to take into account, Prime Maine’s financial condition at the time of the

LBO Transaction and its projected financial condition should the LBO Transaction be

consummated.

       67.     Upon information and belief, the Director Defendants, in light of their

directorship and/or officership capacity at the relevant times, had discretionary authority over

and the power to prevent Prime Maine from entering into the LBO Transaction, but nonetheless

approved of or otherwise permitted the LBO Transaction to occur in breach of their duty of care

to Prime Maine.

       68.     Upon information and belief, Michael Kaplan, Stephen Kaplan, and Glenyce

Kaplan, in light of their directorship and/or officership capacity at the relevant times, had

discretionary authority over and the power to prevent Prime Maine from entering into the LBO

Transaction, but, given, among other things, their divided loyalties and self-interest as insiders

and shareholders of Prime Maine, approved of or otherwise permitted the LBO Transaction to



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occur to their individual benefit and to the detriment of Prime Maine, in breach of their duties of

loyalty and care to Prime Maine.

           69.      Upon information and belief, in authorizing the LBO Transaction, the Director

Defendants lacked an actual intent to advance the interests of Prime Maine in breach of their

duty of loyalty to Prime Maine.

           D.       Amendments to the Contribution Agreements

           70.      Pursuant to that certain First Amendment to Contribution Agreements (the “First

Amendment”), a true and correct copy of which is attached hereto as Exhibit J, dated November

20, 2007, certain amendments to the Irving Contribution Agreement and the Prime Maine

Contribution Agreement were made.

           71.      Specifically, the Life Insurance Provision of the Prime Maine Contribution

Agreement was deleted, such that Prime Maine was not required to transfer its interest in the

Shareholder Defendants’ life insurance policies to the Shareholder Defendants.                                    First

Amendment, § 1.1.

           72.      Instead, Prime Maine was required to assign to the Contributor’s Agent all of its

rights to receive reimbursement for its contributions toward payment of the life insurance

premiums for the life insurance policies listed on Schedule 5.6 of the Prime Maine Contribution

Agreement. Id., § 1.2.

           73.      Additionally, the Cash Consideration, originally totaling $11 million, was reduced

to $10,629,459. Id., § 2.1.

           74.      The principal amount of the Shareholder Note, on the other hand, was increased

from $3 million to $3,817,000. Id., § 2.1.2



2
    The First Amendment contains two sections identified as section 2.1. This reference is to the second § 2.1.

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       E.      Transfer of Consideration to the Shareholder Defendants Pursuant to the
               Prime Maine Contribution Agreement and the Irving Contribution
               Agreement

       75.     In accordance with its obligations as set forth in the Irving Contribution

Agreement and the Prime Maine Contribution Agreement, Prime Delaware did in fact transfer,

and the Debtors did incur substantial secured liabilities and other obligations to fund the transfer

of substantial consideration to the Shareholder Defendants in exchange for the transfer of their

shares of Prime Maine.

       76.     Specifically, upon the closing of the Wells Fargo Loans, on or about November

20, 2007, Irving, Prime Delaware, Prime Maine, Cudahy, and Prime Missouri transferred funds

totaling $14,629,458.50 (the “Cash Transfers”) to the Contributors’ Agent. A true and correct

copy of the payment authorization evidencing such transfer is attached hereto as Exhibit K.

       77.     The Cash Transfers comprise the Cash Consideration as well as the $4 million of

Alleged Non-Competition Payments owed to Stephen Kaplan and Michael Kaplan, collectively,

under paragraph 7 of each Non-Competition Agreement. True and correct copies of the executed

Non-Competition Agreements are attached hereto as Exhibit L.

       78.     Additionally, on or about November 20, 2007, Prime Delaware entered into the

Employment Agreements with Stephen Kaplan and Morris Kaplan in accordance with the

Employment Agreement Provision of the Prime Maine Contribution Agreement. True and

correct copies of the Employment Agreements are attached hereto as Exhibit M.

       79.     Prime Delaware entered into the Shareholder Note, dated November 20, 2007, a

true and correct copy of which is attached hereto as Exhibit N, promising to pay the principal

sum of $3,817,000 to the Contributor’s Agent in accordance with the Prime Maine Contribution

Agreement and § 2.1 of the First Amendment.



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       80.    Prime Maine entered into a Security Agreement dated November 20, 2007 (the

“Prime Maine Security Agreement”), pursuant to which Prime Maine granted a security interest

to the Contributors’ Agent and Benjamin E. Marcus, on behalf of Acquisition (“Benjamin

Marcus”), in all of Prime Maine’s personal property. A true and correct copy of the Prime

Maine Security Agreement and the related financing statement are attached hereto as Exhibit O.

       81.    The Prime Maine Security Agreement secures Prime Delaware’s obligations

under the Acquisition Note and the Shareholder Note.

       82.    Prime Missouri entered into a Security Agreement dated November 20, 2007 (the

“Prime Missouri Security Agreement”), pursuant to which Prime Missouri granted a security

interest to the Contributors’ Agent and Benjamin Marcus in all of Prime Missouri’s personal

property. A true and correct copy of the Prime Missouri Security Agreement and the related

financing statement are attached hereto as Exhibit P.

       83.    The Prime Missouri Security Agreement secures Prime Delaware’s obligations

under the Acquisition Note and the Shareholder Note.

       84.    Pursuant to the Mortgage, Security Agreement, and Collateral Assignment of

Leases and Rents dated November 20, 2007, a true and correct copy of which is attached hereto

as Exhibit Q, Prime Maine granted Benjamin Marcus and the Contributors’ Agent a mortgage

on all of its real property (the “Prime Maine Mortgage”), subordinate to Wells Fargo.

       85.    The Prime Maine Mortgage secures Prime Delaware’s obligations under the

Acquisition Note and the Shareholder Note.

       86.    Pursuant to the Deed of Trust, Security Agreement and Fixture Filing and

Collateral Assignment of Leases and Rents dated November 20, 2007, a true and correct copy of

which is attached hereto as Exhibit R, Prime Missouri granted Benjamin Marcus and the



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Contributors’ Agent a mortgage on all of its real property (the “Prime Missouri Mortgage”),

subordinate to Wells Fargo.

       87.    The Prime Missouri Mortgage secures Prime Delaware’s obligations under the

Acquisition Note and the Shareholder Note.

       F.     Outstanding Vendor Checks and Subsequent Overdraft Immediately After
              the Closing of the LBO Transaction

       88.    On or immediately prior to the date the LBO Transaction closed, approximately

$4 million of checks were outstanding (the “Outstanding Vendor Checks”), which checks

constituted payment by the Debtors to various ordinary course vendors, suppliers, and/or service

providers.

       89.    The Outstanding Vendor Checks cleared approximately one month after the

closing of the LBO Transaction, at which time the Debtors lacked sufficient resources or credit

availability to fund the Outstanding Vendor Checks. Accordingly, the Debtors’ accounts were

immediately and substantially overdrawn.

       G.     Events Subsequent to the LBO Transaction; Satisfaction of the Wells Fargo
              Loans

       90.    Subsequent to entering into the Wells Fargo Loans, in 2008, Prime Maine’s

operations in Berwick, Maine were consolidated with Irving’s operations in Hartland, Maine,

although the companies never formally merged.

       91.    In or around May 2008, the Cudahy finishing facility in Wisconsin was closed

and its production was transitioned to Irving’s facility in Hartland, Maine; again, Irving and

Cudahy never formally merged.

       92.    Just as the Debtors were consolidating operations in Hartland, Maine in 2008, the

Debtors’ chemical and energy costs increased. These increased costs exacerbated the already



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precarious financial position of the Debtors, which had already been significantly and critically

compromised by the LBO Transaction, and rendered the Debtors unable to absorb even mild

economic setbacks.

       93.     At this time, the Debtors were in default of the Wells Fargo Loans, and likely had

been in default almost immediately after closing the LBO Transaction.

       94.     The Debtors made various efforts to curb losses and ensure that they could meet

their obligations to other creditors by engaging in various asset sales, loan transactions, and

compromises with trade creditors.

       95.     Specifically, in late 2008 and 2009, the Debtors sought and subsequently entered

into a composition with certain trade vendors (the “Composition”). In connection with the

Composition, Prime Maine executed certain vendor notes, and Irving and Prime Maine granted

certain mortgages and security interests to Windsor Associates, LLC as collateral agent for the

participating vendors. The aggregate balance of the promissory notes issued to participating

vendors was approximately $7.5 million.

       96.     In addition to the Composition, and in an effort to deleverage and stem losses, in

or around March 2009, Prime Maine caused Prime Missouri to sell substantially all of its assets

to National Beef Leathers, LLC, an unaffiliated competitor, for approximately $10.4 million.

       97.     The majority of the proceeds from the sale of Prime Missouri’s assets were used

to partially satisfy the Wells Fargo Loans.

       98.     Additionally, in or around January 2010, Irving borrowed $2.5 million from The

Fund of Jupiter, LLC (“Jupiter”) and executed a promissory note in favor of Jupiter. Fund of

Jupiter was controlled by a principal of Meriturn, which in turn was an insider of Irving




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Acquisition. The borrowing from Jupiter was undertaken because standard sources of credit

were unavailable to the Debtors, or were available only at crippling rates of interest.

       99.     Irving’s obligations to Jupiter are secured by first priority security interests in all

of Irving’s personal property, other than Irving’s accounts and inventory, and a second priority

security interest in accounts and inventory.

       100.    Prime Maine and Prime Missouri each executed limited resource guarantees in

connection with Jupiter’s loans to Irving. Prime Maine granted a first mortgage on its real estate

to secure its guarantee obligations, and Prime Missouri granted a first security interest in certain

personal property to secure its guarantee obligations.

       101.    In June 2010, Irving borrowed another $500,000 from Jupiter and executed and

delivered a second promissory note evidencing its obligation to Jupiter.

       102.    Irving and Jupiter subsequently modified the promissory notes and related loan

and security documents to increase the amount borrowed from Jupiter. As of November 2010,

the amount owed by Irving totaled approximately $4.4 million.

       103.    Irving’s borrowing from Jupiter was used, among other things, to pay off the

remaining amounts owed on the Wells Fargo Loans.

       104.    Absent this financing, due to defaults on the Wells Fargo Loans, Wells Fargo had

threatened to exercise legal remedies against the Debtors, including foreclosing on its mortgages

and security interests.

       105.    Additionally, in January 2010, due to the Debtors’ increasingly dire financial

circumstances, and due to the lack of alternative financing sources available to the Debtors,

Irving entered into a factoring agreement with Porter Capital Corporation (“Porter”) whereby

Porter agreed to factor certain receivables generated by Irving.



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          106.   To secure its obligations to Porter, Irving granted security interests in certain

assets to Porter, including a first priority security interest in Irving’s accounts and a second

priority security interest in all or substantially all of Irving’s other personal property.

          107.   Prime Delaware, Prime Maine, and Cudahy guaranteed Irving’s obligations to

Porter.

          108.   The terms of the Porter financing were highly unfavorable to the Debtors, but the

Debtors had no choice but to enter into such financing in an attempt to alleviate their critical cash

flow issues and salvage operations.

          109.   Despite the Debtors’ concerted efforts to alleviate their financial position, the

Debtors were forced to pay cash in advance to most of their vendors and suppliers.

          110.   The Debtors were forced to take the measures described above as a result of their

precarious financial position, which position arose as a result of the obligations incurred and

transfers made in connection with the LBO Transaction.

          H.     February 2010 Alleged Attempted Release of the Shareholder Defendants

          111.   Pursuant to a certain release agreement dated February 4, 2010 (the “Release

Agreement”), a true and correct copy of which is attached hereto as Exhibit S, the Shareholder

Defendants were allegedly released from certain potential claims, which claims allegedly include

the LBO Causes of Action, in exchange for which the Shareholder Defendants allegedly gave up

certain nominal or otherwise valueless consideration under the Prime Maine Contribution

Agreement.

          112.   Specifically, the Release Agreement provides that the Shareholder Defendants

“shall assign, transfer and deliver to Prime Delaware” the Prime Delaware Shares, which shares,

as described above, were transferred to the Shareholder Defendants as consideration for the sale



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of Prime Maine’s shares to Prime Delaware. Release Agreement, § 3. The Prime Delaware

Shares were valueless at this time.

        113.    Additionally, the Release Agreement provides that the Shareholder Defendants

will cancel the Shareholder Note and “shall execute any and all releases or discharges necessary

to release all collateral security” for the Shareholder Note. Id. at § 4. The obligor and guarantors

under the Shareholder Note were unable to pay amounts due under the Shareholder Note.

        114.    In addition to these releases, the Release Agreement also releases “any and all

covenants, or obligations” of the Debtors, among others, to the Shareholder Defendants under,

among other things, the Prime Maine Contribution Agreement. Id. at § 5(b). This provision

would appear to release the Debtors’ obligations under the Non-Competition Agreements

Provision and the Employment Agreements Provision of the Prime Maine Contribution

Agreement, as well as any potential Earn-Out Rights. The Debtors were unable to meet their

financial obligations under these provisions in any event.

        115.    In exchange for the Shareholder Defendants’ relinquishment of certain

consideration under the Prime Maine Contribution Agreement, the Release Agreement contains a

release of the Shareholder Defendants by Prime Delaware, Prime Maine, Irving, Prime Missouri,

and Cudahy, among others. Specifically, the Release Agreement states that the Shareholder

Defendants are released from all Claims. Id. at § 7. The term “Claims” is defined in the Release

Agreement to include “any and all potential or actual, known or unknown, actions, causes of

action, claims, demands, lawsuits . . . whether in tort or contract, or based on any wrongful or

intentional act, fraud or misrepresentation . . . .” Id. at § 2.

        116.    The claims and causes of action purportedly released by the Debtors in favor of

the Shareholder Defendants, including the LBO Causes of Action, are claims and causes of



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action which could have been pursued by the creditors of the Debtors at any time, and by the

Debtors as of the November 16, 2010 Petition Date. The releases could not, and did not, release

claims held by creditors of the Debtors at the time of the release or thereafter.

       117.    Notwithstanding the Debtors’ alleged release of claims against the Shareholder

Defendants, the Shareholder Defendants were not required to, and in fact did not, disgorge

themselves of the Cash Transfers, which substantial financial consideration had, as described

above, already been paid to the Shareholder Defendants by the Debtors in accordance with the

Prime Maine Contribution Agreement and the Non-Competition Agreements.

       118.    The consideration relinquished by the Shareholder Defendants pursuant to the

Release Agreement was valueless such that the Debtors did not receive reasonably equivalent

value in exchange for their alleged release of all claims, including the LBO Causes of Action,

against the Shareholder Defendants.

       119.    All of the alleged obligations of the Debtors to the Shareholder Defendants were

avoidable as a matter of law and fact at the time of the Release Agreement, and the Debtors

failed to obtain any material value in exchange for such releases.

                                     CLAIMS FOR RELIEF

                                          COUNT I
                        Actual Fraudulent Transfer—Cash Transfers
                                  (14 M.R.S.A. § 3575(1)(A))
                     (Trust as Assignee; against Shareholder Defendants)

       120.    The Plaintiff incorporates by reference the allegations set forth in paragraphs 1

through 119 as if fully set forth herein.

       121.    The Cash Transfers, which were made pursuant to the Prime Maine Contribution

Agreement, as detailed in paragraphs 35-87 above, constitute transfers of the Debtors’ assets or

an interest of the Debtors in property.

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        122.     The Defendants were insiders of Prime Maine at the time the Cash Transfers were

made.

        123.     The Transferred Funds were transferred to or for the benefit of the Defendants.

        124.     The value of the consideration received by the Debtors—the Prime Maine

shares—was not reasonably equivalent to the value of the Cash Transfers.

        125.     The Debtors were insolvent at the time the Cash Transfers were made or became

insolvent as a result of the making of such Cash Transfers.

        126.     The Cash Transfers were made with the actual intent to hinder, delay or defraud

creditors of the Debtors, as evidenced by, among other things, the fact that the Shareholder

Defendants foresaw the effect that the LBO Transaction would have on the Debtors, their

operations, and their creditors and intended to receive the Cash Transfers in exchange for

valueless consideration, while causing the Debtors to become highly leveraged and overburdened

by liabilities arising from the Wells Fargo Loans.

        127.     As a result of the Cash Transfers, the Debtors and their creditors have been

harmed.

        128.     Creditors of the Debtors which held claims as of the date of the LBO Transaction

continue to hold such claims.

        129.     Under the Maine Uniform Fraudulent Transfer Act, as set forth in 14 M.R.S.A. §§

3575(1)(A) and 3578, creditors of the Debtors are entitled to avoid the Cash Transfers and to

recover the property or value of the property transferred to the Shareholder Defendants, their

affiliates, or third parties.

        130.     The Trustee and the Trust have the rights of such creditors by assignment

pursuant to the Plan and the Confirmation Order and are entitled to avoid the Cash Transfers and



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to recover the property or value of the property transferred to the Shareholder Defendants, their

affiliates, or third parties.

                                            COUNT II
                       Constructive Fraudulent Transfer—Cash Transfers
                                  (14 M.R.S.A. § 3575(1)(B)(1))
                       (Trust as Assignee; against Shareholder Defendants)

        131.     The Plaintiff incorporates by reference the allegations set forth in paragraphs 1

through 119 as though set forth fully herein.

        132.     The Cash Transfers, which were made pursuant to the Prime Maine Contribution

Agreement, as detailed in paragraphs 35-87 above, constitute transfers of the Debtors’ assets or

an interest of the Debtors in property.

        133.     The value of the consideration received by the Debtors—the Prime Maine

shares—was not reasonably equivalent to the value of the Cash Transfers.

        134.     At the time the Cash Transfers were made, the Debtors were engaged in a

business or transaction, or were about to engage in a business or a transaction, for which any

assets or property remaining with the Debtors after the Cash Transfers were made were

unreasonably small in relation to the business or transaction, as evidenced by, among other

things, the Debtors’ state of illiquidity and almost immediate need after entering into the LBO

Transaction to make (ultimately futile) efforts to stem losses and regain profitability.

        135.     Creditors of the Debtors which held claims as of the date of the LBO Transaction

continue to hold such claims.

        136.     Under the Maine Uniform Fraudulent Transfer Act, as set forth in 14 M.R.S.A. §§

3575(1)(B)(1) and 3578, creditors of the Debtors are entitled to avoid the Cash Transfers and to

recover the property or value of the property transferred to the Shareholder Defendants, their

affiliates, or third parties.

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        137.     The Trustee and the Trust have the rights of such creditors by assignment

pursuant to the Plan and the Confirmation Order and are entitled to avoid the Cash Transfers and

to recover the property or value of the property transferred to the Shareholder Defendants, their

affiliates, or third parties.

                                            COUNT III
                       Constructive Fraudulent Transfer—Cash Transfers
                                  (14 M.R.S.A. § 3575(1)(B)(2))
                       (Trust as Assignee; against Shareholder Defendants)

        138.     The Plaintiff incorporates by reference all of the allegations set forth in

paragraphs 1 through 119 as though set forth fully herein.

        139.     The Cash Transfers, which were made pursuant to the Prime Maine Contribution

Agreement, as detailed in paragraphs 35-87 above, constitute transfers of the Debtors’ assets or

an interest of the Debtors in property.

        140.     The value of the consideration received by the Debtors—the Prime Maine

shares—was not reasonably equivalent to the value of the Cash Transfers.

        141.     At the time the Cash Transfers were made, the Debtors intended to incur, or

believed or reasonably should have believed they would incur, debts beyond their ability to pay

as they became due.

        142.     As a result of the Cash Transfers, the Debtors and their creditors have been

harmed.

        143.     Creditors of the Debtors which held claims as of the date of the LBO Transaction

continue to hold such claims.

        144.     Under the Maine Uniform Fraudulent Transfer Act, as set forth in 14 M.R.S.A. §§

3575(1)(B)(2) and 3578, creditors of the Debtors are entitled to avoid the Cash Transfers and to




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recover the property or value of the property transferred to the Shareholder Defendants, their

affiliates, or third parties, with interest.

        145.     The Trustee and the Trust have the rights of such creditors by assignment

pursuant to the Plan and the Confirmation Order and are entitled to avoid the Cash Transfers and

to recover the property or value of the property transferred to the Shareholder Defendants, their

affiliates, or third parties.

                                            COUNT IV
                           Actual Fraudulent Transfer—Cash Transfers
                           (11 U.S.C. § 544(b); 14 M.R.S.A. § 3575(1)(A))
                                  (As to Shareholder Defendants)

        146.     The Plaintiff incorporates by reference the allegations set forth in paragraphs 1

through 119 as if fully set forth herein.

        147.     Pursuant to section 544(b) of the Bankruptcy Code, and under the Plan, the

Confirmation Order, and the Trust Agreement, Plaintiff may avoid any transfer of an interest of

the Debtors in property that is voidable under applicable state law. The state law applicable to

this count is 14 M.R.S.A. § 3575(1)(A).

        148.     The Cash Transfers, which were made pursuant to the Prime Maine Contribution

Agreement, as detailed in paragraphs 35-87 above, constitute transfers of the Debtors’ assets or

an interest of the Debtors in property.

        149.     The Defendants were insiders of Prime Maine at the time the Cash Transfers were

made.

        150.     The Transferred Funds were transferred to or for the benefit of the Defendants.

        151.     The value of the consideration received by the Debtors—the Prime Maine

shares—was not reasonably equivalent to the value of the Cash Transfers.




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        152.    The Debtors were insolvent at the time the Cash Transfers were made or became

insolvent as a result of the making of such Cash Transfers.

        153.    The Cash Transfers were made with the actual intent to hinder, delay or defraud

creditors of the Debtors, as evidenced by, among other things, the fact that the Defendants

foresaw or could have foreseen the effect that the LBO Transaction would have on the Debtors,

their operations, and their creditors and intended to receive the Cash Transfers in exchange for

nominal or insubstantial consideration, while causing the Debtors to become highly leveraged

and overburdened by liabilities arising from the Wells Fargo Loans.

        154.    As a result of the Cash Transfers, the Debtors and their creditors have been

harmed.

        155.    The Debtors have multiple unsecured creditors as to whom the Cash Transfers are

voidable under applicable law and who hold an unsecured claim allowable under 11 U.S.C. §

502.

        156.    Under 11 U.S.C. § 544(b) and § 550(a), and the Maine Uniform Fraudulent

Transfer Act, as set forth in 14 M.R.S.A. § 3575(1)(A) and § 3578, the Trust and the Trustee are

entitled to avoid the Cash Transfers and to recover the property or value of the property

transferred to the Defendants, their affiliates, or third parties for the benefit of the Trust.

                                          COUNT V
                      Constructive Fraudulent Transfer—Cash Transfers
                       (11 U.S.C. § 544(b); 14 M.R.S.A. § 3575(1)(B)(1))
                               (As to Shareholder Defendants)

        157.    The Plaintiff incorporates by reference the allegations set forth in paragraphs 1

through 119 as though set forth fully herein.

        158.    Pursuant to section 544(b) of the Bankruptcy Code, and under the Plan, the

Confirmation Order, and the Trust Agreement, Plaintiff may avoid any transfer of an interest of

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the Debtors in property that is voidable under applicable state law. The state law applicable to

this count is 14 M.R.S.A. § 3575(1)(B)(1).

        159.    The Cash Transfers, which were made pursuant to the Prime Maine Contribution

Agreement, as detailed in paragraphs 35-87 above, constitute transfers of the Debtors’ assets or

an interest of the Debtors in property.

        160.    The value of the consideration received by the Debtors—the Prime Maine

shares—was not reasonably equivalent to the value of the Cash Transfers.

        161.    At the time the Cash Transfers were made, the Debtors were engaged in a

business or transaction, or were about to engage in a business or a transaction, for which any

assets or property remaining with the Debtors after the Cash Transfers were made were

unreasonably small in relation to the business or transaction, as evidenced by, among other

things, the Debtors’ state of immediate illiquidity and almost immediate need after entering into

the LBO Transaction to make (ultimately futile) efforts to stem losses and regain profitability.

        162.    The Debtors have multiple unsecured creditors as to whom the Cash Transfers are

voidable under applicable law and who hold an unsecured claim allowable under 11 U.S.C. §

502.

        163.    Under 11 U.S.C. § 544(b) and § 550(a), and the Maine Uniform Fraudulent

Transfer Act, as set forth in 14 M.R.S.A. § 3575(1)(B)(1) and § 3578, the Trustee and the Trust

are entitled to avoid the Cash Transfers and to recover the property or value of the property

transferred to the Defendants, their affiliates, or third parties for the benefit of the Trust.




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                                         COUNT VI
                     Constructive Fraudulent Transfer—Cash Transfers
                      (11 U.S.C. § 544(b); 14 M.R.S.A. § 3575(1)(B)(2))
                              (As to Shareholder Defendants)

       164.    The Plaintiff incorporates by reference all of the allegations set forth in

paragraphs 1 through 119 as though set forth fully herein.

       165.    Pursuant to section 544(b) of the Bankruptcy Code, and under the Plan, the

Confirmation Order, and the Trust Agreement, Plaintiff may avoid any transfer of an interest of

the Debtors in property that is voidable under applicable state law. The state law applicable to

this count is 14 M.R.S.A. § 3575(1)(B)(2).

       166.    The Cash Transfers, which were made pursuant to the Prime Maine Contribution

Agreement, as detailed in paragraphs 35-87 above, constitute transfers of the Debtors’ assets or

an interest of the Debtors in property.

       167.    The value of the consideration received by the Debtors—the Prime Maine

shares—was not reasonably equivalent to the value of the Cash Transfers.

       168.    At the time of the Cash Transfers, the Debtors intended to incur, or believed or

reasonably should have believed they would incur, debts beyond their ability to pay as they

became due.

       169.    As a result of the Cash Transfers, the Debtors and their creditors have been

harmed.

       170.    The Debtors have multiple unsecured creditors as to whom the Cash Transfers are

voidable under applicable law and who hold an unsecured claim allowable under 11 U.S.C. §

502.

       171.    Under 11 U.S.C. § 544(b) and § 550(a), and the Maine Uniform Fraudulent

Transfer Act, as set forth in 14 M.R.S.A. § 3575(1)(B)(2) and § 3578, the Trustee and the Trust

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are entitled to avoid the Cash Transfers and to recover the property or value of the property

transferred to the Defendants, their affiliates, or third parties for the benefit of the Trust.

                                          COUNT VII
                       Actual Fraudulent Transfer—Release Agreement
                                   (14 M.R.S.A. § 3575(1)(A))
                      (Trust as Assignee; against Shareholder Defendants)

        172.    The Plaintiff incorporates by reference all of the allegations set forth in

paragraphs 1 through 171 as though set forth fully herein.

        173.    The Release Agreement, as detailed in paragraphs 111-119 above, purports to

release the Shareholder Defendants from virtually all claims or causes of action that could be

asserted against the Shareholder Defendants by the Debtors, including, but not limited to, the

LBO Causes of Action. The claims or causes of action purportedly affected by the Release

Agreement, including the LBO Causes of Action, constitute property of the Debtors.

        174.    The purported release of the LBO Causes of Action in accordance with the

Release Agreement constitutes a transfer of the Debtors’ assets or an interest of the Debtors in

property.

        175.    The Shareholder Defendants were insiders of Prime Maine at the time the Debtors

entered into the Release Agreement with the Shareholder Defendants.

        176.    The Release Agreement was entered into by the Debtors and the Shareholder

Defendants to or for the benefit of the Shareholder Defendants.

        177.    The value of the consideration received by the Debtors—the relinquishment by

the Shareholder Defendants of certain consideration owed to them by the Debtors under the

Irving Contribution Agreement and the Prime Maine Contribution Agreement—was not

reasonably equivalent to the value of the purportedly released LBO Causes of Action.




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        178.    The Debtors were insolvent at the time the Release Agreement was executed and

the purported transfers thereunder were effected.

        179.    The Release Agreement and the purported transfers effected thereunder were

made with the actual intent to hinder, delay or defraud creditors of the Debtors, as evidenced by,

among other things, the fact that the Shareholder Defendants knew the value of the claims or

causes of action released, including the LBO Causes of Action, and intended, by entering into the

Release Agreement, to preclude the Debtors from pursuing the LBO Causes of Action for the

benefit of their other creditors.

        180.    As a result of entering into the Release Agreement and the purported release of

the LBO Causes of Action, the Debtors and their creditors have been harmed.

        181.    Creditors of the Debtor which held claims as of the date of the LBO Transaction

continue to hold such claims.

        182.    Under the Maine Uniform Fraudulent Transfer Act, as set forth in 14 M.R.S.A. §

3575(1)(A) and § 3578, the creditors of the Debtors are entitled to avoid the transfers purportedly

effected by the Release Agreement and to recover the property or value of the property

transferred to the Shareholder Defendants, their affiliates, or third parties.

        183.    The Trust and the Trustee hold the rights of such creditors by assignment pursuant

to the Plan and the Confirmation Order and are entitled to avoid the transfers purportedly

effected by the Release Agreement and to recover the property or value of the property

transferred to the Shareholder Defendants, their affiliates, or third parties.




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                                        COUNT VIII
                   Constructive Fraudulent Transfer—Release Agreement
                                (14 M.R.S.A. § 3575(1)(B)(1))
                    (Trust as Assignee; against Shareholder Defendants)

       184.    The Plaintiff incorporates by reference the allegations set forth in paragraphs 1

through 171 as though set forth fully herein.

       185.    The Release Agreement, as detailed in paragraphs 111-119 above, purports to

release the Shareholder Defendants from virtually all claims or causes of action that could be

asserted against the Shareholder Defendants by the Debtors, including, but not limited to, the

LBO Causes of Action. The claims or causes of action purportedly affected by the Release

Agreement, including the LBO Causes of Action, constitute property of the Debtors.

       186.    The purported release of the LBO Causes of Action in accordance with the

Release Agreement constitutes a transfer of the Debtors’ assets or an interest of the Debtors in

property.

       187.    The value of the consideration received by the Debtors—the relinquishment by

the Shareholder Defendants of certain consideration owed to them by the Debtors under the

Irving Contribution Agreement and the Prime Maine Contribution Agreement—was not

reasonably equivalent to the value of the purportedly released LBO Causes of Action.

       188.    At the time the Release Agreement was entered into and the LBO Causes of

Action were purportedly transferred in accordance therewith, the Debtors were engaged in a

business or transaction, or were about to engage in a business or a transaction, for which any

assets or property remaining with the Debtors after the purported release of the LBO Causes of

Action were unreasonably small in relation to the business or transaction.

       189.    As a result of entering into the Release Agreement and the purported release of

the LBO Causes of Action, the Debtors and their creditors have been harmed.

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       190.    Creditors of the Debtor which held claims as of the date of the LBO Transaction

continue to hold such claims.

       191.    Under the Maine Uniform Fraudulent Transfer Act, as set forth in 14 M.R.S.A. §

3575(1)(B)(1) and § 3578, creditors of the Debtors are entitled to avoid the transfers purportedly

effected by the Release Agreement and to recover the property or value of the property

transferred to the Shareholder Defendants, their affiliates, or third parties.

       192.    The Trust and the Trustee hold the rights of such creditors by assignment pursuant

to the Plan and the Confirmation Order and are entitled to avoid the transfers purportedly

effected by the Release Agreement and to recover the property or value of the property

transferred to the Shareholder Defendants, their affiliates, or third parties.

                                          COUNT IX
                    Constructive Fraudulent Transfer—Release Agreement
                                 (14 M.R.S.A. § 3575(1)(B)(2))
                     (Trust as Assignee; against Shareholder Defendants)

       193.    The Plaintiff incorporates by reference the allegations set forth in paragraphs 1

through 171 as though set forth fully herein.

       194.    The Release Agreement, as detailed in paragraphs 111-119 above, purports to

release the Shareholder Defendants from virtually all claims or causes of action that could be

asserted against the Shareholder Defendants by the Debtors, including, but not limited to, the

LBO Causes of Action. The claims or causes of action purportedly affected by the Release

Agreement, including the LBO Causes of Action, constitute property of the Debtors.

       195.    The purported release of the LBO Causes of Action in accordance with the

Release Agreement constitutes a transfer of the Debtors’ assets or an interest of the Debtors in

property.




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       196.    The value of the consideration received by the Debtors—the relinquishment by

the Shareholder Defendants of certain consideration owed to them by the Debtors under the

Irving Contribution Agreement and the Prime Maine Contribution Agreement—was not

reasonably equivalent to the value of the purportedly released LBO Causes of Action.

       197.    At the time the Release Agreement was entered into and the LBO Causes of

Action were purportedly transferred in accordance therewith, the Debtors intended to incur, or

believed or reasonably should have believed they would incur, debts beyond their ability to pay

as they became due.

       198.    As a result of entering into the Release Agreement and the purported release of

the LBO Causes of Action, the Debtors and their creditors have been harmed.

       199.    Creditors of the Debtor which held claims as of the date of the LBO Transaction

continue to hold such claims.

       200.    Under the Maine Uniform Fraudulent Transfer Act, as set forth in 14 M.R.S.A. §

3575(1)(B)(2) and § 3578, creditors of the Debtors are entitled to avoid the transfers purportedly

effected by the Release Agreement and to recover the property or value of the property

transferred to the Shareholder Defendants, their affiliates, or third parties.

       201.    The Trust and the Trustee hold the rights of such creditors by assignment pursuant

to the Plan and the Confirmation Order and are entitled to avoid the transfers purportedly

effected by the Release Agreement and to recover the property or value of the property

transferred to the Shareholder Defendants, their affiliates, or third parties.




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                                         COUNT X
                      Actual Fraudulent Transfer—Release Agreement
                       (11 U.S.C. § 544(b); 14 M.R.S.A. § 3575(1)(A))
                              (As to Shareholder Defendants)

       202.    The Plaintiff incorporates by reference all of the allegations set forth in

paragraphs 1 through 171 as though set forth fully herein.

       203.    Pursuant to section 544(b) of the Bankruptcy Code, and under the Plan, the

Confirmation Order, and the Trust Agreement, Plaintiff may avoid any transfer of an interest of

the Debtors in property that is voidable under applicable state law. The state law applicable to

this count is 14 M.R.S.A. § 3575(1)(A).

       204.    The Release Agreement, as detailed in paragraphs 111-119 above, purports to

release the Shareholder Defendants from virtually all claims or causes of action that could be

asserted against the Shareholder Defendants by the Debtors, including, but not limited to, the

LBO Causes of Action. The claims or causes of action purportedly affected by the Release

Agreement, including the LBO Causes of Action, could have been pursued by creditors of the

Debtors at any time and by the Debtors as of the November 16, 2010 Petition Date.

       205.    The LBO Causes of Action constitute property of the Debtors’ estates under 11

U.S.C. § 541(a)(1).

       206.    The purported release of the LBO Causes of Action in accordance with the

Release Agreement constitutes a transfer of the Debtors’ assets or an interest of the Debtors in

property.

       207.    The Shareholder Defendants were insiders of Prime Maine at the time the Debtors

entered into the Release Agreement with the Shareholder Defendants.

       208.    The Release Agreement was entered into by the Debtors and the Shareholder

Defendants to or for the benefit of the Shareholder Defendants.

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        209.    The value of the consideration received by the Debtors—the relinquishment by

the Shareholder Defendants of certain consideration owed to them by the Debtors under the

Irving Contribution Agreement and the Prime Maine Contribution Agreement—was not

reasonably equivalent to the value of the purportedly released LBO Causes of Action.

        210.    The Debtors were insolvent at the time the Release Agreement was executed and

the purported transfers thereunder were effected.

        211.    The Release Agreement and the purported transfers effected thereunder were

made with the actual intent to hinder, delay or defraud creditors of the Debtors, as evidenced by,

among other things, the fact that the Shareholder Defendants knew the value of the claims or

causes of action released, including the LBO Causes of Action and intended, by entering into the

Release Agreement, to preclude the Debtors from pursuing the LBO Causes of Action for the

benefit of their other creditors.

        212.    As a result of entering into the Release Agreement and the purported release of

the LBO Causes of Action, the Debtors and their creditors have been harmed.

        213.    The Debtors have multiple unsecured creditors as to whom the transfers

purportedly effected by the Release Agreement are voidable under applicable law and who hold

an unsecured claim allowable under 11 U.S.C. § 502.

        214.    Under 11 U.S.C. § 544(b) and § 550(a), and the Maine Uniform Fraudulent

Transfer Act, as set forth in 14 M.R.S.A. § 3575(1)(A) and § 3578, the Trust and the Trustee are

entitled to avoid the transfers purportedly effected by the Release Agreement and to recover the

property or value of the property transferred to the Shareholder Defendants, their affiliates, or

third parties for the benefit of the Trust.




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                                        COUNT XI
                   Constructive Fraudulent Transfer—Release Agreement
                     (11 U.S.C. § 544(b); 14 M.R.S.A. § 3575(1)(B)(1))
                              (As to Shareholder Defendants)

       215.    The Plaintiff incorporates by reference the allegations set forth in paragraphs 1

through 171 as though set forth fully herein.

       216.    Pursuant to section 544(b) of the Bankruptcy Code, and under the Plan, the

Confirmation Order, and the Trust Agreement, Plaintiff may avoid any transfer of an interest of

the Debtors in property that is voidable under applicable state law. The state law applicable to

this count is 14 M.R.S.A. § 3575(1)(B)(1).

       217.    The Release Agreement, as detailed in paragraphs 111-119 above, purports to

release the Shareholder Defendants from virtually all claims or causes of action that could be

asserted against the Shareholder Defendants by the Debtors, including, but not limited to, the

LBO Causes of Action. The claims or causes of action purportedly affected by the Release

Agreement, including the LBO Causes of Action, could have been pursued by creditors of the

Debtors at any time and by the Debtors as of the November 16, 2010 Petition Date.

       218.    The LBO Causes of Action constitute property of the Debtors’ estates under 11

U.S.C. § 541(a)(1).

       219.    The purported release of the LBO Causes of Action in accordance with the

Release Agreement constitutes a transfer of the Debtors’ assets or an interest of the Debtors in

property.

       220.    The value of the consideration received by the Debtors—the relinquishment by

the Shareholder Defendants of certain consideration owed to them by the Debtors under the

Irving Contribution Agreement and the Prime Maine Contribution Agreement—was not

reasonably equivalent to the value of the purportedly released LBO Causes of Action.

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        221.    At the time the Release Agreement was entered into and the LBO Causes of

Action were purportedly transferred in accordance therewith, the Debtors were engaged in a

business or transaction, or were about to engage in a business or a transaction, for which any

assets or property remaining with the Debtors after the purported release of the LBO Causes of

Action were unreasonably small in relation to the business or transaction.

        222.    As a result of entering into the Release Agreement and the purported release of

the LBO Causes of Action, the Debtors and their creditors have been harmed.

        223.    The Debtors have multiple unsecured creditors as to whom the transfers

purportedly effected by the Release Agreement are voidable under applicable law and who hold

an unsecured claim allowable under 11 U.S.C. § 502.

        224.    Under 11 U.S.C. § 544(b) and § 550(a), and the Maine Uniform Fraudulent

Transfer Act, as set forth in 14 M.R.S.A. § 3575(1)(B)(1) and § 3578, the Trust and the Trustee

are entitled to avoid the transfers purportedly effected by the Release Agreement and to recover

the property or value of the property transferred to the Shareholder Defendants, their affiliates, or

third parties for the benefit of the Trust.

                                        COUNT XII
                    Constructive Fraudulent Transfer—Release Agreement
                      (11 U.S.C. § 544(b); 14 M.R.S.A. § 3575(1)(B)(2))
                               (As to Shareholder Defendants)

        225.    The Plaintiff incorporates by reference the allegations set forth in paragraphs 1

through 171 as though set forth fully herein.

        226.    Pursuant to section 544(b) of the Bankruptcy Code, and under the Plan, the

Confirmation Order, and the Trust Agreement, Plaintiff may avoid any transfer of an interest of

the Debtors in property that is voidable under applicable state law. The state law applicable to

this count is 14 M.R.S.A. § 3575(1)(B)(2).

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       227.   The Release Agreement, as detailed in paragraphs 111-119 above, purports to

release the Shareholder Defendants from virtually all claims or causes of action that could be

asserted against the Shareholder Defendants by the Debtors, including, but not limited to, the

LBO Causes of Action. The claims or causes of action purportedly affected by the Release

Agreement, including the LBO Causes of Action, could have been pursued by creditors of the

Debtors at any time and by the Debtors as of the November 16, 2010 Petition Date.

       228.   The LBO Causes of Action constitute property of the Debtors’ estates under 11

U.S.C. § 541(a)(1).

       229.   The purported release of the LBO Causes of Action in accordance with the

Release Agreement constitutes a transfer of the Debtors’ assets or an interest of the Debtors in

property.

       230.   The value of the consideration received by the Debtors—the relinquishment by

the Shareholder Defendants of certain consideration owed to them by the Debtors under the

Irving Contribution Agreement and the Prime Maine Contribution Agreement—was not

reasonably equivalent to the value of the purportedly released LBO Causes of Action.

       231.   At the time the Release Agreement was entered into and the LBO Causes of

Action were purportedly transferred in accordance therewith, the Debtors intended to incur, or

believed or reasonably should have believed they would incur, debts beyond their ability to pay

as they became due.

       232.   As a result of entering into the Release Agreement and the purported release of

the LBO Causes of Action, the Debtors and their creditors have been harmed.




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        233.    The Debtors have multiple unsecured creditors as to whom the transfers

purportedly effected by the Release Agreement are voidable under applicable law and who hold

an unsecured claim allowable under 11 U.S.C. § 502.

        234.    Under 11 U.S.C. § 544(b) and § 550(a), and the Maine Uniform Fraudulent

Transfer Act, as set forth in 14 M.R.S.A. § 3575(1)(B)(2) and § 3578, the Trust and the Trustee

are entitled to avoid the transfers purportedly effected by the Release Agreement and to recover

the property or value of the property transferred to the Shareholder Defendants, their affiliates, or

third parties for the benefit of the Trust.

                                          COUNT XIII
                             Breach of Fiduciary Duty—Duty of Care
                              (13-C M.R.S.A. §§ 831(2), 832(1)(B)(2))
                                   (As to Director Defendants)

        235.    The Plaintiff incorporates by reference the allegations set forth in paragraphs 1

through 120 as though set forth fully herein.

        236.    At all relevant times, the Director Defendants, as members of Prime Maine’s

board of directors, owed Prime Maine certain fiduciary duties, including, but not limited to, the

duty of care. The Director Defendants were required, at all relevant times, to act in Prime

Maine’s best interests.

        237.    Liability of the Director Defendants is not precluded by any provision in Prime

Maine’s articles of incorporation authorized by 13-C M.R.S.A. § 202(2)(D). The Cash Transfers

provided certain Director Defendants—Michael Kaplan, Stephen Kaplan, and Glenyce Kaplan—

with a financial benefit to which they were not entitled. Additionally, in authorizing the LBO

Transaction, the Director Defendants intentionally inflicted harm on Prime Maine. Finally, the

Cash Transfers are in excess of what may be authorized and made pursuant to 13-C M.R.S.A. §

651.

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       238.      Liability of the Director Defendants is not precluded by the protection afforded by

13 M.R.S.A. § 872 for action taken in compliance with 13-C M.R.S.A. § 873 or § 874.

       239.      Liability of the Director Defendants is not precluded by the protection afforded by

13 M.R.S.A. § 881.

       240.      By authorizing the LBO Transaction and, among other things, engaging in the

conduct described in paragraphs 58-69, including, but not limited to, failing to adequately

investigate or take into account Prime Maine’s financial condition at the time of the LBO

Transaction and its projected financial condition should the LBO Transaction be consummated,

failing to adequately consider the foreseeable consequences of the Prime Maine Contribution

Agreement and the Wells Fargo Loans, and authorizing and permitting Prime Maine to enter into

the LBO Transaction, in relation to which excessive consideration would be paid to the

Shareholder Defendants in exchange for which Prime Maine and the other Debtors would be

overleveraged and financially compromised, the Director Defendants did not discharge their

duties with the care that a person in a like position would reasonably believe appropriate under

similar circumstances.

       241.      The Director Defendants either did not reasonably believe the decision for Prime

Maine to enter into the LBO Transaction was in the best interests of Prime Maine or the Director

Defendants were not informed about the decision for Prime Maine to enter into the LBO

Transaction to an extent the Director Defendants reasonably believed appropriate in the

circumstances.

       242.      By failing to exercise their duty of care to Prime Maine, as set forth in 13-C

M.R.S.A. §§ 831(2) and 832(1)(B)(2) and other applicable state law, the Director Defendants

breached their fiduciary duty to Prime Maine.



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       243.    The Director Defendants’ breach of fiduciary duty to Prime Maine directly and

proximately caused substantial harm to Prime Maine by, among other things, rendering Prime

Maine insolvent.

       244.    Pursuant to 13-C M.R.S.A. §§ 831(2) and 832(1)(B)(2) and other applicable state

law, the Director Defendants are liable in an amount to be determined at trial for breaching their

fiduciary duties to Prime Maine.

                                          COUNT XIV
                            Breach of Fiduciary Duty—Duty of Loyalty
                              (13-C M.R.S.A. §§ 831(1), 832(1)(B)(1))
                                   (As to Director Defendants)

       245.    The Plaintiff incorporates by reference the allegations set forth in paragraphs 1

through 120 as though set forth fully herein.

       246.    At all relevant times, the Director Defendants, as members of Prime Maine’s

board of directors, owed Prime Maine certain fiduciary duties, including, but not limited to, the

duty of loyalty. The Director Defendants were required, at all relevant times, to act in Prime

Maine’s best interests.

       247.    Liability of the Director Defendants is not precluded by any provision in Prime

Maine’s articles of incorporation authorized by 13-C M.R.S.A. § 202(2)(D). The Cash Transfers

provided certain Director Defendants—Michael Kaplan, Stephen Kaplan, and Glenyce Kaplan—

with a financial benefit to which they were not entitled. Additionally, in authorizing the LBO

Transaction, the Director Defendants intentionally inflicted harm on Prime Maine. Finally, the

Cash Transfers are in excess of what may be authorized and made pursuant to 13-C M.R.S.A. §

651.

       248.    Liability of the Director Defendants is not precluded by the protection afforded by

13 M.R.S.A. § 872 for action taken in compliance with 13-C M.R.S.A. § 873 or § 874.

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       249.    Liability of the Director Defendants is not precluded by the protection afforded by

13 M.R.S.A. § 881.

       250.    By authorizing the LBO Transaction and, among other things, engaging in the

conduct described in paragraphs 58-69, including, but not limited to, authorizing and permitting

Prime Maine to enter into the LBO Transaction, in relation to which excessive consideration

would be paid to the Shareholder Defendants in exchange for which Prime Maine and the other

Debtors would be overleveraged and financially compromised, the Director Defendants did not

discharge their duties in good faith and in a manner reasonably believed to be in the best interests

of Prime Maine.

       251.    By authorizing Prime Maine’s entry into the LBO Transaction, the Director

Defendants lacked an actual intention to advance the welfare of Prime Maine.

       252.    By failing to exercise their duty of loyalty to Prime Maine, as set forth in 13-C

M.R.S.A. §§ 831(1) and 832(1)(B)(1) and other applicable state law, the Director Defendants

breached their fiduciary duty to Prime Maine.

       253.    The Director Defendants’ breach of fiduciary duty to Prime Maine directly and

proximately caused substantial harm to Prime Maine by, among other things, rendering Prime

Maine insolvent.

       254.    Pursuant to 13-C M.R.S.A. §§ 831(1) and 832(1)(B)(1) and other applicable state

law, the Director Defendants are jointly and severally liable in an amount to be determined at

trial for breaching their fiduciary duties to Prime Maine.




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            WHEREFORE, Plaintiff prays for judgment as follows:

            a.    On Count I, for a determination that the Cash Transfers are avoidable and for

recovery of the Cash Transfers or the value of the Cash Transfers in an amount to be determined

at trial.

            b.    On Count II, for a determination that the Cash Transfers are avoidable and for

recovery of the Cash Transfers or the value of the Cash Transfers in an amount to be determined

at trial.

            c.    On Count III, for a determination that the Cash Transfers are avoidable and for

recovery of the Cash Transfers or the value of the Cash Transfers in an amount to be determined

at trial.

            d.    On Count IV, for a determination that the Cash Transfers are avoidable and for

recovery of the Cash Transfers or the value of the Cash Transfers in an amount to be determined

at trial.

            e.    On Count V, for a determination that the Cash Transfers are avoidable and for

recovery of the Cash Transfers or the value of the Cash Transfers in an amount to be determined

at trial.

            f.    On Count VI, for a determination that the Cash Transfers are avoidable and for

recovery of the Cash Transfers or the value of the Cash Transfers in an amount to be determined

at trial.

            g.    On Count VII, for a determination that the Release Agreement is avoidable and

for recovery of the transfers effected thereunder.

            h.    On Count VIII, for a determination that the Release Agreement is avoidable and

for recovery of the transfers effected thereunder.



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       i.      On Count IX, for a determination that the Release Agreement is avoidable and for

recovery of the transfers effected thereunder.

       j.      On Count X, for a determination that the Release Agreement is avoidable and for

recovery of the transfers effected thereunder.

       k.      On Count XI, for a determination that the Release Agreement is avoidable and for

recovery of the transfers effected thereunder.

       l.      On Count XII, for a determination that the Release Agreement is avoidable and

for recovery of the transfers effected thereunder.

       m.      On Count XIII, for compensatory damages in an amount to be determined at trial.

       n.      On Count XIV, for compensatory damages in an amount to be determined at trial.

       o.      Granting such other and further relief as is just and proper.


Dated: November 15, 2012                         DEVELOPMENT SPECIALISTS, INC.,
                                                 AS TRUSTEE OF THE IRVING/PRIME
                                                 CREDITORS’ TRUST FORMED
                                                 PURSUANT TO THAT CERTAIN
                                                 LIQUIDATING TRUST AGREEMENT
                                                 EFFECTIVE AS OF NOVEMBER 1, 2012
                                                 AND FORMED PURSUANT TO THE DEBTORS’
                                                 FIRST AMENDED PLAN OF REORGANIZATION
                                                 DATED SEPTEMBER 25, 2012, AS SUCH PLAN
                                                 WAS CONFIRMED PURSUANT TO THE ORDER (I)
                                                 CONFIRMING DEBTORS’ FIRST AMENDED PLAN
                                                 OF REORGANIZATION DATED SEPTEMBER 25, 2012
                                                 AND (II) AUTHORIZING AND DIRECTING
                                                 CERTAIN ACTIONS IN CONNECTION THEREWITH,
                                                 DATED OCTOBER 18, 2012,
                                                 By its attorneys:

                                                 /s/ Robert J. Keach
                                                 Robert J. Keach, Esq.
                                                 Máire B. Corcoran, Esq.
                                                 BERNSTEIN, SHUR, SAWYER & NELSON
                                                 100 Middle St., PO Box 9729
                                                 Portland, Maine 04104-5029
                                                 (207) 774-1200

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